                                        Case 5:22-cv-00919-D Document 1-1 Filed 10/24/22 Page 1 of 5
                                                                                                                                                                                                                                                               -r,c~~s
IIIIIII IIIII IIIII IIIII IIIII IIIII IIIII IIIII IIIII IIIII IIII IIII                                                                                                                                                                            C 'J ...{o~~- '1 / I,,
 *     1 D5 2 7 2 5 4 8 8                                         *
                                                                            In the District Court of Ok/-,A 1-lcvi'                                                            .":                       County
                                                                                                State of Oklahoma

                                                                                                           )
        Plaintiff                                                                                          )
                                                                                                           )
                               vs.                                                                         )
                                                                                                           )               Case No.
             f ('\       l   I~ ' I        f         J Q bk) '. ·; ,"\;                                    )
                                                                                                                                                  ---------
                                                                                                                                                  (To be entered by Cfi!ILIB£>:>IN DISTRICT COURT
                                                                                                           )                                                                                          OKLAHOiv1A COUNTY
                                                                                                           )
                                                                                                           )
        Defendant(s)                                                                                        )                                                                                                         JUL -5 2022
                                                                                                                                                                                                     RICK WARREN
                                                                                                                                                                                                      COURT CLERK
                                                                                                                                  Petition                                                        105 _ _ _ _ __
                                                                                                                                  ,.1 .. ••
                                                                                                                                  ,. t                 ·J
                                                                                                                                                               ..
                                                                                                                                                                1 '-::
                                                                                                                                                                              -A,·.
                                                                                                                                                                              ,.j'\1 ~,·1 .;~L and alleges to the Court
        Comes now the Plaintiff,                                                                                                              1
                                                                                                                                                  ,


        as follows:
                                                                                          ,''. '      /1,/)         I    ;:1
         1.             The Plaintiff, (full name) _,.(_i_,_/.,_Z._,_f....,··i__                 7__.-£=,,"""·L,_..t:_~..............-:...;.. ;. ·'-\'-.'
                                                                                , ~J_._,/:_,__.k/._,,
                                                                              ' ....                                                              , _ _ _ _ , is an inmate confined in
                        the penal facility located at (mailing address) __.,..::.9'--'o....
                                                                                        ( 1....
                                                                                            ' -',,.,;;;,.v.:...,_·.._;....
                                                                                                                      , .;...'·....,'\,'_.;_'......
                                                                                                                                           1_·  ~·_                                                    _.,.C_..._'k.....,·,_r-...,,_.{_.''7_,,'<'.~-   _z~;...·',_'=~'...
                                                                                                                                                                                                                                                                    1    ,4::!c:..-:-




        2.              The Plaintiff is a resident of the State of Oklahoma and has been for                                                                                                                 . /j       .3           years.

         3.             (a)                The Defendant, (name of first defendant) \,                                             ~/~ l ,'l 1, ·.,;-·                  Tt·; 1 1 S' 1."",
                                                                                                                                                                     .....           1                   ,        is employed as (position and
                                                                                                                                                      ",
                                                                                                                                                 flf'···,·,·                                                                                  . The
                                            Defendant's employment address is (mailing address)                                                                              ~l~o=·~;~,k'~•~,C..,,5. .t~,~C'\~·                                        1
                                                                                                                                                                                                                                                     · -··
                                                                                                                                                                                                                                 "',~~t-1'~ · · _ ." -
                                                                                                                                                                                                                          _•,,1.-~'                            ~~•~>=~·-~'\-+-'_,_
                                                                                                                                                                                                                                                                            1


                                                   -:1 ?JOJ,
                                           At the time the claim(s)✓ved in this complaint arose, was this Defendant acting under
                                            Color of state law?                                                 Yes, or, _ _ No. If answer is 'yes', briefly explain:
                                                                                                                                                                                                                                                        (\ f       J(),         I'• V




                                                                                                                                     11                                I
         3.             (b)                The Defendant, (name of second defendant)                                               }ij> / ~} / 'dtr ,) )t;Jt,c:1 I t:.Y--7~ is employed as                                                                        (position

                                           andtitle,ifany)                        (j(/,·,\t. (\(/';;,~{                    '-'i     /'y,                            ,,           ,i·'        ,:1 ' / \1 '                                                  .   The
                                            Defendant's employm~nt address is (mailing address)                                                                               t;:,1() /     ;i.
                                                                                                                                                                                                  1
                                                                                                                                                                                                      511(-. r • E                     (1 i·<.', l. , ')6,';


                                           At the time the claim(s) al!eged in this complaint arose, was this Defendant acting under
                                            color of state law? ---3L_ Yes, or, _ _ No.                                                                             If your answer is 'yes', briefly explain:
                                               i ,c:       ! ,        "~,    , , •••     r1 ~ E -, ., , .)\ ,-,, c~                        /~ri ,-, , ~: '• . ,' i
                                                                                                                                              .
                                                                                                                                                                                              ·~· ',         Jnr(Y',:;/ '.::,-~                                    /),':'
                                                                                                                                                                                                                                                               r - -'\
                                               \';.·\.,-,.,""-•             "':::,~~-'i.i- ttr              t\'-,f~1··                     ,.:.;:•,~.               ,~<t             ~ tr                     \         ,i,il>:'.-~      :l~. ,"5{\·{~""'/\
                                                                                                                                                           t


                                                                                                                                                           1
                 Case 5:22-cv-00919-D Document 1-1 Filed 10/24/22 Page 2 of 5




                       Note: Attach additional pages to furnish the information above on each defendant.

4.   Jurisdiction:                                      ;f;; '211/ 64~(? I                                       + ;, , / / fr9i'J, J/ f / </J. 3. 5:Gt (/ 0)
             -~ :--, ·/                       1> ·. ,, •-.: O,'sf-o'cl&)ue·t IZ;y /2i ~.,,-, ,:v.,J,. { c!a:s:c a5 z,Jc!/ ,:; ')



                                                                 '
5.   Venue:                                                 all




6.   Briefly state the facts of the case:                                                                          61


                                      0


      i- 1 ) ' ( t \,' ,,,,               1
                                                 ',·,
     __,<-~-1~·e'-j·""'J_....._-:.____, i \
     -----Y,       f
                                               .1   )t,.· , ,
       /' : f   ·\ /   t~ {"
                                                                                                                                                                       •< }--, ' "' y-)
                                                                                                                              •                          j     '               /

                                                                                                                                  t :1   ·, ,- ~ ..;,'       • · -:;                      ¥-~   IC- ,,



        ~:r5 ~-(' ">:..~J-.).___--JJ.                           <·•f' 1[.,.., ~-·.                                JvJ/ •".          ~.·.-:       b:.<.--. ,,.·.,                    :5'~/.           < ,· '
7.   (a)               The Plaintiff alleges that the following constitutional rights, privileges or immunities have
                       been violated: (List and designate each count separately).




     (b)               The following facts support the allegation above: (List and designate each count separately).
                          ,.J   l
                           Jrc· ~·-· Oi
                                              . •' .                 I      •   }
                                                                     - c,Coc0 1 '
                                                                                     ·.    ;
                                                                                          ·1
                                                                                               !).. . '.     '          '
                                                                                                           ',·.,•f, r_Jq·/f   c;/'I         C:•l                                                         ·.1.
                Case 5:22-cv-00919-D Document 1-1 Filed 10/24/22 Page 3 of 5




8.   I have filed 0th.er lawsuits in state or federal court dealing with the same facts involved in this
     action.      _£ Yes, or, _ _ No.                If the answer is 'yes', describe each lawsuit. (Please attach
     additional copies of the petition(s) and/or requests) for administrative relief).


     (a)




     (b)         Name of court and case number:
                ~u-:;2-1,}·D

     (c)         Case status:             __      Pending
                                          __      Relief granted
                                              /   Action dismissed
                                                  On appeal
                                              v   Other, please specify:



                                          t




     (e)         Date of filing:


     (f)         Date of Disposition:



9.   I have sought informal or formal relief from thzropriate administration officials regarding the
     acts stated in allegation 8 of this Petition.                     Yes, or, _ _ No. If your answer is 'yes',
     briefly describe how relief was sought and the outcome of the proceedings. If your answer is
     'no', briefly explain why administrative relief was not sought.
           ·1          lt. / .r    · '.                  j ,; }   fl    ''   '5 \'.,:\.:' ~/·c.'·   · ;,.,   r';!;"',f' .':,   /.e,,




10. Relief requested:
          Case 5:22-cv-00919-D Document 1-1 Filed 10/24/22 Page 4 of 5




11. Have you brought any lawsuits in state or federal court within the last ten (10) years?
      ± e s , or, _ _ No. If your answer is 'yes', a sworn affidavit listing the litigation and the
     outcome of the litigation must be attached.


12. I am representing myself.   --6'es,     or, _ _ No. If your answer is 'no', please explain.




                                                    Plaintiff's signature· ·




                                                    Plaintiffs address         /




AOC Form 7
Revised 3/13
       Case 5:22-cv-00919-D Document 1-1 Filed 10/24/22 Page 5 of 5
           Case 5:22-cv-00019-D Document 20 Filed 04/27/22 Page 1 of 1




                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF OKLAHOMA

CLIFFORD GENE MYERS,                        )
                                            )
       Plaintiff,                           )
                                            )
V.                                          )             Case No. CIV-22-19-D
                                            )
CONNIE JOHNSON, et al.,                     )
                                            )
       Defendants.                          )

                                           ORDER


       Before the Court is Defendant's "Motion for the Appointment of Counsel Waiver

of Fee's" [Doc. No. 19]. A final judgment dismissing this matter without prejudice to

refiling was entered on April 12, 2022 after Defendant failed to pay the initial partial filing

fee. 1 The above-captioned case is closed, but for filings related to proceedings in aid of

execution. The instant motion is therefore STRICKEN.

       IT IS SO ORDERED this 27th day of April, 2022.




                                                TIMOTHY D. DeGIUSTI
                                                Chief United States District Judge




1
  Defendant was previously granted permission to proceed without prepayment of the full
filing fee, but was still required to pay the filing fee, including an initial partial filing of
$23.40 [Doc. No. 8].
